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                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE- EASTERN DISTRICT COURT
                                            -
                                                   OF ARKANSAS-
                                WESTERN DIVISION

DA REL ADELSBERGER AND
ANNETTE ADELSBERGER                                                          PLAT\JTIFFS

vs.                             Case No. 4:19CV3-SWW

UNION PACIF lC RAILROAD COMPANY                                           DE FENDANT



                                    Protective Order


      Before the Court is a Joint Motion for Protective O rder. Upon consideration,

the Court finds tha t the mo tion should be and hereby is GRANTED. The Court

e nters the followi ng Protecti ve Order as proposed by the parties:

      The pa rties have in formation to disclose \•v hich may require protectio n due to

its con fident ial or p roprietary nature. Accordingly, the parties agree:

           1. Scope. All documen ts produced in the course of discovery, includ ing

a ll respo nses to discovery requests, all d eposition testimony and exhibi ts, othe r

materia ls w hich may be subject to restrictions on disclosure for good cause and

information deri ved directly the refrom (hereinafter collectively "documents"),

sha ll be s ubject to this Ord er concerning confidential info rma tion as set fo rth

below.

           2. Form and Timing of Designation. A party may designate d ocuments

as confid entia l and restricted in disclosure under this Order by placing or

affixing the words "CO1 FIDENTIAL" on the document in a manner that will

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not interfere with the legibi lity of the document and that w ill permit complete

removal of the designa tion. Docume nts sha ll be d esignated CONFIDENTIAL

p rior to or at the time o f the p roductio n o r d isclosure of the d ocu men ts. The

desig nation "CONFIDENTI A L" d oes no t mean that the documen t h as any status

or protection by statt1te or otherwise except to the extent and for the purposes of this

Order.
          3. Documents Which May be Designated. Any pa rty m ay d esig nate

documents as CON FID ENTIAL u pon mak ing a determina tion that the

documents con ta in information p rotected from d isclosure by statute o r that

shou ld be protected from d isclosu re as con fiden tia l personal info rmatio n,

medica l o r psychia tric information, trad e secrets, personnel records, p rop rietary,

o r such othe r sensitive commercia l information that is not p ublicly ava ilable.

          4. Protection of Confidential Material.

                    a. General Protections. Documents designated CONFIDENTIAL-

               under this Order shall not be used or disclosed by the parties, cou nsel

               fo r th e parties or a ny othe r persons id entified in Paragraph 4(b) for any

               purpose whatsoever other than to p repare for and to conduct

               discovery and tria l in this action, inclu ding any appeal thereof.

                    b. Limited Third-Party Disclosures. The parties and counsel for

               the parties shall n ot d isclose o r permit the d isclosure of any

               CO NFIDENTIAL d ocu men ts to a ny third person o r entity except as set
               forth in subpa ragraphs (i)-(v). Subject to these requirements, the

               following ca tegories of persons may be a llowed to review d ocuments
               that have been d esigna ted CONFIDENTIAL:

                            1.   Counsel. Counsel (or the pa rties and employees and
                          agen ts of cou nsel) who have responsibi li ty for the prepara tion

                          an d trial of the action;

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                            11.     Parties. Parties and employees of a party to this Order.

                           m.     Court Reporters and Recorders. Court reporters and

                           recorders engaged for depositions;

                            1v.   Consultants, Investigators and Experts. Consultants,

                           investigators, or experts ~hereinafter referred to collectively as

                           "experts") employed by the parties o r counsel for the parties to

                           assist in the preparation and trial of this action or proceeding,

                           but only afte r su ch persons have completed the certification

                           contained in Attachment A, Acknowledgm ent of Understanding

                           and Agreement to Be Bound; and

                            v.    Others by Consent. Other persons only by w ritten

                           consent of the producing party or upon order of the Court and

                           on s uch conditions as may be agreed or o rdered. All such

                           persons shall execu te the certification contained in Attachment

                           A, Acknowledgment of Understanding and Agreement to Be

                           Bound.

                     c. Control of Documents. Counsel for the parties sha ll take

               reasonable and appropriate measures to prevent u nauthorized

               disclosure of documents designated as CONFIDENTIAL pursuant to

               the terms o f this Order. Counsel shall maintain the orig inals of the

               forms signed by persons acknowledging their obligations under thi s

               Order for a period of 1 year after dism issa l of the action, the entry of

               final judgment and/or the conclusion of any appeals aris ing therefrom.

                    d. Copies. Before production to another party, all copies, electronic
               images, duplicates, extracts, summaries or descriptions (hereinafter

               referred to collectively as ("copies") of d ocuments designated as

               CONFIDENTIAL under this Order, or any individual portion of such a

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                document, sha ll be affixed with the designation "CONFlD ENTlA L" if

                 the wo rd does no t al ready appear on the copy. All su ch copies sha ll

                 thereafter be entitled to the p ro tectio n of this Order. The term "copies"

                shall not include indices, e lectronic databases or lis ts of documents

                 provided tha t these indices, e lectronic databases odists·do not contain

                substantial portions or images of the text of confid ential docu ments o r

                othe rwise disclose the s ubstance o f the confidential information

                conta ined in those d ocuff1ents.

                      e. Inadvertent Production. Inad verten t produ ction of any

                document or info rmation wi thou t a designation of "CO lfIDE1 ·rrAL"

                shall be governed by the applicable rules of civil procedure, but a pa rty

                may designate such documents as Confidential as soon as it reali zes

                 the inadvertent disclos ure.

           5. Filing of CONFIDENTIAL Documents Under Seal. Before any

d ocument designa ted as CONFIDENTIAL is filed with the Court, the party

w ishing to fil e the d ocument shall request that the document be filed und er seal.

                      a. Before any d ocument marked as CONFIDENTIAL is filed under

                seal w ith the Court, the filing party shall first cons u lt with the pa rty

                that o rigina lly d esignated the document as CONFIDENTIAL to

                determine w hethe r, w ith the consent of that party, the document or a

                redacted version of the document may be filed w ith the Court not
                under sea l.

           6. Challenges by a Party to Designation as Confidential. Any
CONFIDENTIAL d esignation is subject to challenge by any party o r nonparty
with s tanding to object (hereafter "party"). Before filing any motions o r
objections to a con fidential ity d esignation with the Court, the objecting party

shall ha ve an obligatio n to meet and confer in a good faith effort to resolve the

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objection by agreement. If agreement is reached confirming or waiving the

CO1 "FIDENTIAL designation as to any documents subject to the objection, the

designating party shall serve on all parties a notice specifying the documents and

the nature of the agreement.
           7. Action by the Court. Applicat-ions to the Court for an order relating to

any documents designated CONFIDENTIAL shall be by motion under the

appl icable rules of p rocedure and local rules of the Cou rt and any other

procedures set forth in the presiding judge's standing orders o r other re levant

o rders.

           8. Use of Confidential Documents or Information at Trial. All trials are

open to the public. Absent order of the Court, there w ill be no restrictions on the

use of any document that may be introduced by any party during the trial. If a

party intends to present at trial CONFIDENTIAL d ocuments o r information

derived therefrom, such pa rty shall provide advance notice to the oth er party

identifying the d ocuments or information at issue as specifically as possible (i.e.,

by Bates number, page range, deposition transcript lines, etc.) witho ut divulg ing

the actual CON FIDENTIAL documents or information. The Court may thereafter

make su ch orders as are necessary to govern the use of such documents o r

information at trial.

          9. Obligations on Conclusion of Litigation.

                     a. Order in Effect. Unless otherwise ag reed, this O rde r s hall

                re main in force after di smissal or entry of judgment not subject to

                further appeal.
                      b. Return of CONFIDENTIAL Documents. Within thirty days

                after dismissa l o r entry of final judgment not subject to furthe r appeal,

                all d ocuments treated as CONFTDENTIAL unde r this Order, including
                copies as defined in Parag raph 4(d), shall be returned to the p roducing

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                party unless: (1) the document has been offered into evidence or fi led

                w ithout restriction as to disclosure; or (2) the party in possession of

                such document(s) elects to destroy the documents and ce rtifies to the

                p roducing party that it has done so. Nohvithstanding the above

               -requirements to return or d estroy documents, counsel-may retain

                attorney work product, including an index which refers or relates to

                information designated CONFIDENTIAL, so long as that work

                product does no t duplica te verbatim substantial portions of the text o r
                images of confidential d ocuments. This work product shall continue to

                be CONFIDENTIAL under this Order. An attorney may use his or her

                work p roduct in a subsequent litigation provid ed that its use does not

               d isclose or use CONFIDENTIAL docum e nts.

          10. Persons Bound. This Order shall take effect when signed by the Court

and shall be bind ing upon all counsel and their law fi rms, the pa rties, and

persons made subject to this Order by its terms.

     SO ORDERED



     Date                                              Uni ted States District Judge




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                                          Attachment A
                             Acknowledgment and Agreement to be Bound


     The undersigned hereby acknowledges that he/she has read the Protective
Order da ted _ __ _ _ _ _ _ _ in the above-captioned action and attached

hereto; understands the terms thereof; and agrees to be bound- by its terms. The

undersigned submits to the jurisdiction of the Court herein in matters re la ting to

the Pro tective O rder and understands that the terms of the Protective O rder

obligate h im/ he r to use documents d esignated CONFIDENTIAL in accordance

with the Order solely fo r the purposes of the above captioned action, and not to

d isclose any such d ocuments or in.formation d erived directly therefrom to a ny

other person, firm o r concern.

     The undersigned acknowledges that violation of the Protective Order may

result in penalties fo r contempt of cou rt.
 Name:

 Job Title:

 Employer:

 Business Add ress:




Date                                       Signature




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Agreed ns to for111 n11d content:



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